                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION
UNITED STATES OF AMERICA,                       )
                                                )
                             Plaintiff,         )
                                                )
                     v.                         )       No. 13-4052-01/04 & 14 -CR-C-BCW
                                                )
ALEXANDER V. MCMILLIN,                          )
PATRICK R. HAWKINS,                             )
MATTHEW A. HAWKINS,                             )
MOLLY JANE CARMICHAEL,                          )
WESLEY ADAM UPCHURCH,                           )
                                                )
                             Defendants.        )
                             REPORT AND RECOMMENDATION
       Defendants Alexander V. McMillin (doc. 348), Patrick R. Hawkins (doc. 350), Matthew
A. Hawkins (doc. 349), Molly Jane Carmichael (doc. 351), and Wesley Adam Upchurch (doc.
352) have filed motions to dismiss various counts of the Second Superseding Indictment.
Defendants restate the same arguments that they raised in their motions to dismiss various counts
of the Superseding Indictment. Defendants’ contentions have previously been considered and
found to be without merit in a Report and Recommendation issued by the undersigned (doc.
276), which was subsequently adopted by District Court Judge Brian C. Wimes (doc. 297).
       Accordingly,
       IT IS THEREFORE RECOMMENDED that the motions of defendant Alexander V.
McMillin (doc. 348), Patrick R. Hawkins (doc. 350), Matthew A. Hawkins (doc. 349), Molly
Jane Carmichael (doc. 351), and Wesley Adam Upchurch (doc. 352) to dismiss various counts of
the Second Superseding Indictment be DENIED.
       Counsel are reminded that they have fourteen days from the date of receipt of a copy of
this Report and Recommendation within which to file and serve objections. A failure to file and
serve exceptions by this date shall bar an attack on appeal of the factual findings in the Report
and Recommendation which are accepted or adopted by the district judge, except on the grounds
of plain error or manifest injustice.




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Dated this 7th day of April, 2015, at Jefferson City, Missouri.




                                      /s/       Matt J. Whitworth
                                      MATT J. WHITWORTH
                                      United States Magistrate Judge




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